                       Case 3:19-cv-04980-JSC Document 9 Filed 08/19/19 Page 1 of 4

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                           for the
                                                       NorthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          California


    LA CLINICA DE LA RAZA (see attachment for                                    )
               additional Plaintiffs)                                            )
                                                                                 )
                                                                                 )
                            Plaintiff(s)                                         )
                                                                                 )
                                v.                                                                   Civil Action No. 3:19-cv-4980 JSC
                                                                                 )
Donald J. Trump, in his Official Capacity as President                           )
 of the United States (see attachment for additional                             )
                    Defendants)                                                  )
                                                                                 )
                           Defendant(s)                                          )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Kenneth T. Cuccinelli
                                           Acting Director of U.S. Citizenship and Immigration Services
                                           c/o United States Department of Homeland Security
                                           Office of the General Counsel - Chief Legal Counsel USCIS
                                           245 Murray Lane SW
                                           Washington, DC 20528


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Nicholas Espíritu (SBN 237665)
                                           espiritu@nilc.org
                                           NATIONAL IMMIGRATION LAW CENTER
                                           3450 Wilshire Boulevard, #108-62
                                           Los Angeles, CA 90010
                                           Telephone: 213-639-3900/Facsimile: 213-639-3911

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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                                                                                                                 Susan Y. Soong
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Date:          8/19/2019
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                                                                                          C                             Signature of Clerk or Deputy Clerk
                                                                                                                                        Mark Romyn
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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
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                                     ATTACHMENT

ADDITIONAL PLAINTIFFS:

California Primary Care Association; Maternal and Child Health Access; Farmworker Justice;
Council on American Islamic Relations-California; African Communities Together; Legal Aid
Society of San Mateo County; Central American Resource Center; Korean Resource Center

ADDITIONAL ATTORNEYS:
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ADDITIONAL DEFENDANTS:

UNITED STATES DEPARTMENT OF HOMELAND SECURITY; UNITED STATES
CITIZENSHIP AND IMMIGRATION SERVICES; KENNETH T. CUCCINELLI, in his
Official Capacity as Director of U.S. Citizenship and Immigration Services; and KEVIN K
MCALEENAN, in his Official Capacity as Acting Secretary of the Department of Homeland
Security
